                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                  SOUTHERN DIVISION

JOSEPH N. ROSS,                                      )
                                                     )
                              Plaintiff,             )
                                                     )
       vs.                                           )     Case No. 6:16-cv-03472-BCW
                                                     )
GREENE COUNTY JUSTICE CTR. Et al.,                   )
                                                     )
                              Defendants.            )

                           DEFENDANTS’ REPORT TO COURT

       COME NOW the Defendants by and through their counsel of record, Keck, Phillips &

Wilson, LLC, and for their Report to Court submit the following:

                                            Report


       1. The parties scheduled mediation with Kevin FitzGerald to occur on March 4, 2019.

             (Doc. 88)

       2. Plaintiff’s counsel has filed a motion to withdraw and suggestions in opposition were

         due by February 8, 2019. (Doc. 88)

       3. To date, no party has opposed withdrawal, and Plaintiff has been an absconder in State

         of Missouri vs. Joseph Ross, Greene County, Missouri Case Number 1831-CR04614

         since at least December of 2018.

       4. The MAP Director has approved staying the mediation pending the outcome of

             Motion to Withdraw.


                                            Respectfully submitted,

                                            KECK, PHILLIPS & WILSON, LLC




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                                         By: /s/Damon S. Phillips
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                                                 Attorneys for Defendants

                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing was
served via electronic filing this 18th day of February, 2019 to:

Brent Dwerlkotte, MO Bar
Scott D. Kaiser, MO Bar
SHOOK, HARDY&BACON LLP
2555 Grand Blvd.
Kansas City, MO 64108

                                         ________/s/Damon S. Phillips_________
                                                    Damon S. Phillips




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